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FILED

FEB 11 2020
DAVID L. ANDERSON (CABN 149604) SUSAN Y. SOONG
United States Attorney CLERK, U.S. DISTRICT COURT
NORTH DISTRICT OF CALIFORNIA
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION |
UNITED STATES OF AMERICA, ) CASE NO. 19-CR-367-14 CRB
)
Plaintiff, )
) VIOLATION:
V. ) 21 U.S.C. § 843(b) — Illegal Use of a Communication
) Facility
YORDI YABIER AGURCIA GALINDO, )
)
Defendant. )
)

 

 

 

SUPERSEDING INFORMATION
The United States Attorney charges:
On June 10, 2019, in the Northern District of California and elsewhere, the defendant,
YORDI YABIER AGURCIA GALINDO,
did knowingly and intentionally use a communication facility in committing, causing and facilitating the
commission of an act constituting a felony under Title 21, Subchapter J, in violation of Title 21, United
States Code, Section 843(b).

DATED: __* |‘ | to DAVID L. ANDERSON
United States Attorney

 

RYAN BEZAE _/

Assistant United States Attorney

INFORMATION

 
